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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 KRAFT FOODS GLOBAL, INC., THE                    )
 KELLOGG COMPANY, GENERAL                         )
 MILLS, INC., and NESTLÉ USA, INC.,               )
                                                  )
        Plaintiffs,                               )     No. 1:11-cv-08808
                                                  )
                v.                                )     Judge Charles R. Norgle
                                                  )
 UNITED EGG PRODUCERS, INC.,                      )
 UNITED STATES EGG MARKETERS,                     )
 INC., CAL-MAINE FOODS, INC.,                     )
 MICHAEL FOODS INC., and ROSE ACRE                )
 FARMS, INC.                                      )
                                                  )
        Defendants.                               )


   JOINT MOTION TO AMEND PRETRIAL SCHEDULE AND SET TRIAL DATES

       Pursuant to the Court’s order entered March 29, 2022 (ECF No. 134), the Parties conferred

with respect to trial dates, conflicts, and time needed for new counsel to prepare for trial. After

consulting the Court’s trial calendar, the parties jointly propose a trial start date of October 24,

2022. The parties expect the trial to last approximately five weeks.

       The parties also conferred with respect to a pretrial schedule based upon an anticipated

October 24, 2022 trial commencement, to include a schedule for briefing and argument on motions

in limine and plaintiffs’ intended Santiago proffer. The parties hereby jointly propose the below

amended pretrial schedule:
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                                     Pretrial Order Scheduling

 Parties exchange proposed witness and                 July 22, 2022 (approx. 95 days before trial)
 exhibit lists, as well as deposition
 designations

 Parties exchange objections to witness and            Aug. 5, 2022 (approx. 80 days before trial)
 exhibit lists, and objections to deposition
 designations

 Parties exchange counter-designations                 Aug. 5, 2022 (approx. 80 days before trial)

 Parties exchange objections to counter-               Aug. 16, 2022 (approx. 70 days before trial)
 designations

 Parties exchange drafts of pretrial order             Sep. 14, 2022 (approx. 40 days before trial)

 Parties exchange proposed jury instructions,          Sep. 14, 2022 (approx. 40 days before trial)
 verdict form, and proposed statement of the
 case

 Parties file pretrial order and proposed jury         Sept. 28, 2022 (approx. 25 days before trial)
 instructions

                                   Motions in Limine Scheduling

 Plaintiffs file Santiago proffer; Parties file        Aug. 26, 2022 (approx. 60 days before trial)
 motions in limine

 Parties file responses to Santiago proffer and        Sep. 16, 2022 (approx. 40 days before trial)
 motions in limine

 Oral argument on pretrial order                       Sep. 29, 2022 (25 days before trial)



       Although the parties recognize that the Court’s March 29, 2022 order asked for the Final

Pretrial Order to be filed no later than 90 dates from its entry of that order, the parties respectfully

believe that it will benefit the parties and the Court to have the pretrial schedule set as requested

above, given a stipulated October 24, 2022 proposed trial date. Accordingly, the parties hereby

request the Court set an October 24, 2022 trial commencement date and amend the pretrial order

deadline as set forth above.


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April 21, 2022                               Respectfully submitted,

Counsel for Plaintiffs Kraft Foods Global, Counsel for Defendant Rose Acre
Inc., General Mills, Inc., Nestlè USA, Inc. Farms, Inc.
and The Kellogg Company
                                             /s/ Jay L. Levine
  /s/ Brandon D. Fox                        Donald M. Barnes
James T. Malysiak                           Jay L. Levine
Terrence J. Truax                           Porter, Wright, Morris & Arthur LLP
Joel T. Pelz                                2020 K Street, N.W., Suite 600
Angela M. Allen
JENNER & BLOCK LLP                          Washington, D.C. 20006-1110
353 N. Clark Street                         Tel: (202) 778-3000
Chicago, IL 60654-                          Email: dbarnes@porterwright.com
3456                                                 JLevine@porterwright.com
Tel: (312) 222-9350
Fax: (312) 527-0484                         Jason S. Dubner
jmalysiak@jenner.com                        Porter, Wright, Morris & Arthur LLP
ttruax@jenner.com                           321 North Clark Street
jpelz@jenner.com                            Suite 400
aallen@jenner.com                           Chicago, IL 60654
                                            Tel: (312) 756-8466
Brandon D. Fox                              Email: JDubner@porterwright.com
Amy M. Gallegos (admitted pro hac
vice)                                       James King
JENNER & BLOCK LLP                          Porter, Wright, Morris & Arthur LLP
515 South Flower                            41 South High Street
Suite 3300                                  Suite 2900
Los Angeles, CA                             Columbus, OH 43215
90071                                       Tel: (614) 227-2000
Tel: (213) 239-5100                         Email: jking@porterwright.com
Fax: (213) 239-5199
bfox@jenner.com
agallegos@jenner.com




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Counsel for Defendants United Egg            Counsel for Defendant Michael Foods,
Producers, Inc., and United States Egg       Inc.
Marketers, Inc.
                                              /s/ Carrie C. Mahan
 /s/ Robin P. Summer                         Carrie C. Mahan
Robin P. Sumner                              Weil, Gotshal & Manges LLP
Whitney R. Redding                           2001 M Street, N.W.
Troutman Pepper Hamilton Sanders LLP         Washington, D.C. 20036
3000 Two Logan Square                        Tel: (202) 682-7231
18th and Arch Streets                        Email: carrie.mahan@weil.com
Philadelphia, PA 19103-2799
Tel: (215) 981-4000                          Stephen J. Siegel
Email: robin.sumner@troutman.com             Elizabeth C. Wolicki
        whitney.redding@troutman.com         Novack and Macey LLP
                                             100 N Riverside Plaza
Robert E. Browne, Jr.                        Chicago, IL 60606
Troutman Sanders LLP                         Tel: (312) 419-6900
227 West Monroe Street                       Fax: (312) 419-6928
Suite 3900                                   Email: ssiegel@novackmacey.com
Chicago, IL 60606                                    ewolicki@novackmacey.com
Tel: (312) 759-1923
Email: robert.browne@troutman.com




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                                         Counsel for   Defendant     Cal-Maine
                                         Foods, Inc.

                                          /s/ Patrick M. Collins
                                         Brian E. Robison
                                         Brown Fox, PLLC
                                         6303 Cowboys Way
                                         Suite 450
                                         Frisco, TX 75034
                                         Tel: (972) 707-1809
                                         Email: brian@brownfoxlaw.com

                                         Livia McCammon Kiser
                                         Patrick M. Collins
                                         Patrick M. Otlewski
                                         Abigail Hoverman Terry
                                         Zachary T. Fardon
                                         King & Spalding LLP
                                         110 North Wacker Drive
                                         Suite 3800
                                         Chicago, IL 60606
                                         Tel: (312) 764-6911
                                         Email: lkiser@kslaw.com
                                                 pcollins@kslaw.com
                                                 potlewski@kslaw.com
                                                 ahoverman@kslaw.com
                                                 zfardon@kslaw.com

                                         Andrew J. Chinsky
                                         King & Spalding LLP
                                         1180 Peachtree Street, NE
                                         Suite 1600
                                         Atlanta, GA 30309
                                         Tel: (404) 572-2812
                                         Email: achinsky@kslaw.com




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